                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION

     LAURA PONTONES, on behalf of herself         )
     and all others similarly situated,           )
                                                  )
            Plaintiff,                            )
                                                  )
            v.                                    )                    Case No. 5:18-cv-219-D
                                                  )
     SAN      JOSE                    RESTAURANT, )
     INCORPORATED, et. al;                        )
                                                  )
            Defendants.                           )
                                                  )
                                                  )
                                                  )
     -----------------
        ORDER GRANTING PLAINTIFF'S UNOPPOSED MOTION FOR APPROVAL
            OF ATTORNEYS' FEES AND REIMBURSEMENT OF EXPENSES
_J


             The above captioned matter came before the Court on Plaintiffs Unopposed Motion

      for Preliminary Approval of Attorneys' Fees and Reimbursement of Costs and Expenses

      ("Unopposed Motion for Attorneys' Fees")· (Dkt. 226). The Court has considered the

      representations of Plaintiffs Counsel, the pleadings, and the record, and rules as follows with

      respect to Plaintiffs Counsel's request for attorneys' fees and reimbursement of litigation costs

      and expenses:

             (1)         Plaintiffs Counsel are awarded attorneys' fees in the amount equal to one-third

             of the Maximum Gross Settlement Amount (i.e., $500,000.00); and

             (.2)        Plaintiffs Counsel are awarded litigation costs and expenses in the amount of

             $20;000.00, to com.e from the Gross Settlement Amount.




                                                                                                           /
            Case 5:18-cv-00219-D Document 233 Filed 03/29/22 Page 1 of 2
SO ORDERED. This ·2. "t day of March, 2022.


                                          JA~ C. DEVER III
                                          United States District Judge
                                                                         {




                                              2

       Case 5:18-cv-00219-D Document 233 Filed 03/29/22 Page 2 of 2
